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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

Tamira Sanni-Sanoussi                                  :
3355 16th Street, N.W., #512                           :
Washington, D.C. 20010                                 :
                                                       :
                               Plaintiff,              :
v.                                                     :       Case No.: 1:22-cv-2627
                                                       :
WASHINGTON METROPOLITAN AREA                           :
TRANSIT AUTHORITY                                      :
300 7th Street, S.W.                                   :
Washington, DC 20024                                   :
                                                       :
                               Defendant.              :


                 NOTICE OF REMOVAL BY DEFENDANT
     WASHINGTON METROPOLITAN AREA TRANSIT AUTHORITY (“WMATA”)

       To the Judges of the United States District Court for the District of Columbia:

       1.       On or about July 4, 2022, Plaintiff filed a complaint against WMATA in the

Superior Court of the District of Columbia, in the case titled Tamira Sanni-Sanoussi v.

WMATA, et al. Case No. 2022 CA 002918 V.

       2.       Defendant WMATA was formally served in this action on August 4, 2022.

       3.       The Complaint, Summons, information sheet, affidavit of service and initial order

in the Superior Court of the District of Columbia are attached. These documents constitute the

only process, pleadings, or orders received by the Defendant WMATA in this case.

       4.       This is a civil action over which this Court has original jurisdiction, pursuant to

Pub. L. No. 89-774 and D.C. CODE §9-1107.10 (81), which specifically grants original

jurisdiction over suits against WMATA to the United States District Court and allows for the

removal of claims against WMATA, in state court, to this court in accordance with 28 U.S.C.

§1446 (2017).
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       5.      Pursuant to 28 U.S.C. § 1446(d), a Notice of Removal is being

contemporaneously filed with the Clerk of the Superior Court of the District of Columbia, and

mailed to Plaintiff’s counsel.


       WHEREFORE, Defendant WMATA requests that the entire above-referenced action

now pending in the Superior Court of the District of Columbia be removed to this Court.

                                            Respectfully submitted,


                                            /s/ Nicholas L. Phucas
                                            Nicholas L. Phucas #475163
                                            Senior Counsel
                                            WMATA
                                            300 Seventh St., S.W., 7E
                                            Washington, D.C. 20024
                                            (202) 962-2886
                                            (202) 962-2550 (facsimile)




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                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing Notice of Removal was electronically filed

and mailed, first class, postage prepaid this 31st day of August, 2022, to:




Zeke J. Roeser
3000 Connecticut Ave, N.W., Suite 140
Washington, D.C. 20008

Vincent A. Jankoski, Esq.
14717 Harvest Lane
Silver Spring, MD 20905




                                              /s/ Nicholas L. Phucas
                                              Nicholas L. Phucas #475163




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